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Case 3:17-CV-OO498-RC.]-CBC Document 38 Filed 12/04/18 Page 1 of 5

GUS W. FLANGAS, ESQ.
Nevada Bar No. 004939

Ernail.: gw§@fdlawlv.com
JESSICA K. PETERSON, ESQ.
Nevada Bar No. 10670

Ernail: jkp@fdiawlv.corn
FLANGAS DALACAS LAW GROUP
3275 South Jones Blvd., Suite 105
Las Vegas, Nevada 89146
Telephone: (702) 307~9500
Faesirnile: (702) 382-9452
Attoruey.s'fr`)r Plaz')z!ij`

UNITED STATES DISTRICT COURT
DISTR_ICT OF NEVADA

MELANI.E I{EENER, an indivi.dual,
Case No.: 3:17-cv-00498-RCJ-CBC

Plaintii`f,
STIPULATION AND ORDER FDR
V. EXTENSIUN OF THVIE FUR PLAINTIFF
TD FlLE AN OPPOSITION I’URSUANT
GERALD R. ANT]'NORO, an individual; TO LOCAL RULE IA-G-l

STOR.EY CC)UNTY, a political subdivision
of the State of Nevada; DOES I-V, inclusive;
and ROE ENTITIES VI-X, inclusive,

Defcndants.

 

 

COME NOW the parties, by and through their respective undersigned counsel and tile this
Stipuiation & Ordcr to Extend die Time for Plaintii`i` to File an Opposition Pursuant to Local Rules
lA 6-] and 7-2 and in support thereof show the Court as follows:

I. FACTUAL BACKGRO`UND

Dn Novernber 8, 2018, Defendant filed a Motion i"or Sun'unary Judgment. Plaintif`i` has 21
days from the date of servicc, plus three days pursuant to FRCP 6 to file his response As suoh, the
Opposition was due on Decemher 3, 2018. On or about Noveniber 19, 2018 Plainti ff' s counsei, Gus
W. Flangas, Esq., spoke with Defendant's eounsel, Douglas R. Rands, Esq., who agreed that
Plaintiff could have an additional fifteen (15) days from the date the Oppositiou was due to file any

Opposition to the Iviotion. Mr. Flarigas asked Mr. Rands if it Was necessary to file a Stipulation with

 

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Case 3:17-CV-OO498-RC.]-CBC Document 38 Filed 12/04/18 Page 2 of 5

the Court informing the Co'urt of the extension and Mr. Rands stated that, “as far as he Was
concerned it was not necessary.” On Deccniber 3"', 2018, an Order was issued in Case 3:18-cv-
00429-HDM-WGC, granting Defendant’s Motion to Disniiss pursuant to LR '/'-2 because Plaintiff
had failed to file an Opposition. Mr. Flangas and Mr. Rands are the attorneys representing the
litigants in that case as well, and thel Parties are the same parties as the parties in the case herein. Mr.
Rands had also granted Mr. Flangas an extension to file any Opposition to the Motion to Disrniss
in that case, but the parties had failed to file a Stipulation informing the Court. The Parties have now
filed a Stipulation dc Order, through their respective counsel, in Case 3:18~cv~00429-HDM-WGC
seeking that the Order be Set Aside on the basis that Mr. Rands had granted an extension for the
Plaintiff to file an Opposition.

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Case 3:17-CV-OO498-RC.]-CBC Document 38 Filed 12/04/18 Page 3 of 5

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FLANGAS DALACAS LAW GROUP

  

a 13ar No. 49119
CA K. PETERSON, ESQ.
Nevada Bar No.10670

3275 S. Jones Blvd. ,.Ste 105
Las Vegas, Nevada 89146

Tcl: 702-307-9500

Attorneys for Plaintiii`

IT IS SO ORDERED this

Rcsp ctfully Submitte .y;

Neva a Bar No. 4989
ES CA K. PETERSON, ESQ.
` s ada Bar No 10670
FLANGAS DALACAS LAW GROUP
3275 S. Jones Blvd., Ste. 105
Las Vegas, Nevada 89146
Attorncys for Plaintiff

 

So that the parties do not need to seek additional relief, lathe form of seeking to setting aside
an Order Ciranting the Motion for Summary ludgment, on thc basis that Plaintiff failed to file an
Opposition, the parties through their respective counsel file the instant Stipulation allowing Plaintiff
until Deeember 21, 2018 to file the Opposition.

Dated this 111`day of Deccmber 2018 Dated this j[':LdEy of Decernber 2018

   

day of ,2018

RANDS, SOUTH & GARDNER

By: fs/Dou las Rands with emission
DOUGLAS R. RANDS, ESQ.
Nevada Bar No. 3572

9498 Double r Blvd, Ste. A

cho, Nevada 89521

Tel: ?75-727-6464

Attorney for Defendants

 

 

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Case 3:17-CV-OO498-RC.]-CBC Document 38 Filed 12/04/18 Page 4 of 5

Jessica Peteraon

 

____-h

From: Doug|as Rands [doug_rands@sbcglobai.net]
Sent: Tuesday, Decernber 04. 2018 3:43 PM

To: 'Jessica Peterson'

Subject: RE:

Yes, you have my approvai...

Douglas R. Rands

RANDS 31 SOUTH

9498 Doub|e R Blvd, Suite A
Reno, NV 89521
775-827-5464
775-327-15496 fax

dra nds@rsgnvla w.com

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From: Jessica Peterson [n'_iai|to;j|gp@wfd|gyg|v.com]

Sent: Tuesday, December 04, 2018 3:15 PM
To: 'Douglas Ftands’; 'Doug Rands'

Cc: gyv_f@fd|awiy.gom

Si.ibject:

Doug:
Pursuant to our conversation see attached. P|ease email rne ifthese are ok to file now with your approval indicating l
may use your electronic signature

Thani<s
Jessica

.]ESSICA K. I’ETERSON, ESQ.

FLANGAS DALACAS LAW GROUP

3275 South Jones Blvd., Suite 105

Las Vegas, Nevada 89146

Phone: (702) 307-9500 Direct: (702) 971 - 2251
Fax: (702) 332-9452

 

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Case 3:17-CV-OO498-RC.]-CBC Document 38 Filed 12/04/18 Page 5 of 5

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